This is an action to foreclose a mortgage and for deficiency judgment. From the record in the case it appears that the defendants are both nonresidents of this state. It does not appear that either of the defendants ever submitted himself or herself to the jurisdiction of this court. Therefore no judgmentin personam can be rendered against them.
It further appears that the mortgage was given by one Theresa B. Ward to secure her own personal note. All that appears with reference to the defendants is that they were the owners and in possession of the mortgaged premises at the time of the institution of the foreclosure proceedings. Nothing is alleged which in any way makes them liable for the indebtedness. To be sure if they wish to retain the property they would have to redeem and thus pay the debt. But as mere owners in possession of the mortgaged premises this is the extent of their liability.
   The motion is therefore denied.